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                                                              January 12, 2021
Hon. Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square                                                     1/12/2021
New York, NY 10007


Filed by ECF

                              United States v. Maria Aguilar Hewitt
                                        20 Cr. 493 (VSB)

Dear Judge Broderick:

        I represent the defendant Maria Aguilar Hewitt under the Criminal Justice Act. I write to
request a modification in her bail conditions so that she can take her father to medical appointments
in the Northern District of Florida. Her father suffers from gastroparesis as a result of a lung
transplant he had last year. He needs to have a gastric peroral endoscopic myotomy (G-POEM)
procedure to fix this issue so that he can digest solid foods (he currently uses a feeding tube). He
has a pre-op appointment with a surgeon in Gainesville, Florida this Thursday, and expects to have
the surgery and follow up appointments in the coming weeks. Ms. Hewitt, who is a caretaker for
her father, is needed to drive and accompany him to the appointments since he cannot drive long
distances and does not speak English.

        Right now, Ms. Hewitt’s bail conditions limit her travel to the Southern District of New
York, the Middle District of Florida (where she resides), and points in between for transit only.
For these reasons, we ask that Your Honor modify her bail conditions so that she can take her
father to these medical appointments in Gainesville, which is in the Northern District of Florida.
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I have been in touch with Ms. Hewitt’s pretrial services officer and the Government. Neither has
any objection to this request.


                                                                  Respectfully submitted,
